
Defendants' Petitions for Writ of Certiorari are allowed for the limited purpose of vacating the order entered by the Court of Appeals on 2 March 2016 allowing Plaintiff-Appellee State Board of Education's Motion to Dismiss on the grounds that the Order entered by Judge Paul G. Gessner in this case on 2 July 2015 did not "hold[ ] that an act of the General Assembly is facially invalid on the basis that the act violates the North Carolina Constitution or federal," N.C.G.S. § 7A-27(al), and remanding this case to the Court of Appeals for consideration of defendants' challenges to the validity of the trial court's order on the merits. In light of that determination, Defendant's Petitions for Discretionary Review are dismissed and Defendant North Carolina Rules Review Commission's Notice of Appeal is dismissed ex mero motu.
By order of the Court in Conference, this 9th day of June, 2016.
